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FOR THE WESTERN DISTRICT OF LOUISIANA
MONROE DIVISION

 

FRANK SMITH JR.
Civil Action No.

Plaintiff,
Vv.
DIRECTOR, FEDERAL EMERGENCY

MANAGEMENT AGENCY AND NFIP
DIRECT SERVICING AGENT

Defendants

 

 

COMPLAINT
Plaintiff FRANK SMITH JR. by his attorney, and for its complaint against Defendant

DIRECTOR, FEDERAL EMERGENCY MANAGEMENT AGENCY (hereinafter “FEMA”)

and NFIP DIRECT SERVICING AGENT (hereinafter “NFIP”) allege as follows:
NATURE OF THE CASE
This is a case of breach of an insurance contract covering flood loss to Plaintiff's house arising
out of Defendants’ failure to pay the correct amount of the damage done to Plaintiff's house, which said

damage was caused by flooding. for which Plaintiff seeks judgment against both named Defendants.

THE PARTIES
I. Plaintiff FRANK SMITH. is a major domiciliary of Ouachita Parish, State of Louisiana.
2. Defendant DIRECTOR, FEDERAL EMERGENCY MANAGEMENT AGENCY is the Director

of a government Agency designed and formed to handle flooding claims under policies of flood insurance
it issued to individuals to cover damage to their property occasioned by flooding, and Defendant NFIP
DIRECT SERVICING AGENT who, at all times mentioned herein was authorized to do and actually

doing business in the State of Louisiana with the Secretary of State upon whom service of process may be

 

 

 
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made, and at all times mentioned herein was the WYO company handling the policy of insurance in

question in this Complaint.

 

JURISDICTION AND VENUE
3. This Court may declare the rights and other legal regulations of the parties in this action under
42 U.S.C. section 4104
4, This Court has personal jurisdiction over Defendants and venue is proper in this District

pursuant to 28 U.S.C. section 1331 and also under 42 U.S.C. 4072 This Court also has personal
jurisdiction over Defendant consistent with the principles underlying the U.S. Constitution.
STATEMENT OF FACTS
5. Plaintiff alleges that on or about April 13", 2019, his house located at 1117 North 8" Street,
West Monroe, Louisiana, flooded due to torrential rains and suffered damage to it, exclusive of its
contents, in an amount in excess of the maximum insurance coverage, i.e. $53,000.
6. Plaintiff alleges that he filed an appropriate claim with Defendant FEMA under a policy of
insurances issued by said Defendant with Defendant NFIP DIRECT SERVICING AGENT being the
WYO company handling said policy, said claim being appropriate since the policy in question covered
flooding and having a period of coverage from April 27", 2018 to April 27", 2019, providing among
other coverages liability limits for flood damage to the aforesaid dwelling of Plaintiff to be the sum of
$53,000, subject to a deductible of $1500.
7. Plaintiff alleges that he received a letter from the Defendant FEMA dated June 21%, 2019
stating that all they were going to pay for the flooding damage to Plaintiff's house was $6,950.85 after the
aforesaid $1500 deductible was applied namely $8450.85 less Plaintiff's $1500 deductible, but advising
that Plaintiff could appeal; that decision which Plaintiff did via his duly authorized legal representative,
Joe D. Guerriero.
8. Plaintiff alleges that since the damage to his house exclusive of damage to his contents

exceeded the $53,000 coverage as all attempts to obtain someone to repair the damage were rejected, he

 
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thus obtained the opinion of a well-established Contractor with more than 35 years’ experience who
stated unequivocally that the house was in fact unrepairable. with the result that it needs to be torn
down and completely rebuilt, a fact bolstered by the City of West Monroe, Louisiana who has
ordered the Plaintiff to demolish the house or it will (see attached Exhibit “A”); therefore, Plaintiff,
appealed this decision of Defendants, and in connection therewith he had his attorney send the notice of
Appeal and accompanying documents to Defendants and followed up with a subsequent letter to said
Defendants (See attached Exhibit “B” as though written herein in full), all of which were to no avail, as
no reply was forthcoming from said Defendant.

9. Plaintiff further alleges that no action has been forth coming since his attorney sent the
appropriate documentation thereto, and even though the letter of representation sent was one used by his
attorney for over 57 years and never before challenged, the Defendant rejected both letters sent, and thus
he was compelled to file this complaint; moreover Plaintiff avers that since he has not received any
amount, much less the value to rebuild the house, Plaintiff desires and is entitled to judgment against both
named Defendants for the policy limits of his insurance less his $1500 deductible, namely in the amount
of $51,500 plus legal interest thereon from date of judicial demand and for all costs of this pleading.

10. Plaintiff further avers that the amount offered by the Defendants was without a doubt an offer made
in bad faith and thus he desires and is entitle d to reasonable attorney fees for his having to file this

complaint and for all penalties allowed by law for the Defendants acting in bad faith.

PRAYER FOR RELIEF
WHEREFORE PLAINTIFF, LNC, prays for relief and entry of judgment by this Court as
follows, to-wit:
A. That there be Judgment in favor of Plaintiff, Frank Smith Jr., and against Defendants, .DIRECTOR,
FEDERAL EMERGENCY MANAGEMENT AGENCY and NFIP DIRECT SERVICING AGENT

in an amount commensurate with Plaintiffs losses, which Plaintiff contends is the value to rebuild the

 

 
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house which said value exceeds the maximum amount of his policy of insurance; thus,
Plaintiff seeks the sum of $51,500.00 representing the policy limits less his $1500 deductible.

B. For an award of interest to the extent permitted by law; and for such other relief as the Court may

deem just and proper.

C. For an award of reasonable attorney fees and for all penalties allowed under the law for the

Defendants acting in bad faith.

Dated: Ajyis. yin , 2019,

Respectfully submitted,

Joe D. Guerriero/s/

Joe D. Guerriero — Bar Roll No. 06391
3030 Aurora Ave., 2"! Floor

Monroe, Louisiana 71201

Telephone: (318) 338-3603
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Email: joed@nuby.com
Attorney for Plaintiff— Frank Smith, Jr.
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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF LOUISIANA
MONROE DIVISION

 

FRANK SMITH JR.
Civil Action No.

Plaintiff,

Vv.

DIRECTOR, FEDERAL EMERGENCY
MANAGEMENT AGENCY AND STATE
FARM INSURANCE COMPANY

Defendants

 

 

AFFIDVAIT OF FRANK SMITH

PERSONALLY CAME AND APPEARED, before me, the undersigned Notary Public, duly
commissioned and qualified for the State of Louisiana, FRANK SMITH, who did depose and state under

the penalty of perjury that all of the allegations contained in the Complaint filed herein are true and

correct to the best of his knowledge, information and belief. ? .
/ Cc
C _ A471 hme

FRANK SMITH, Petitioner/A ffiant

¥ NOTARY PUBLIC
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